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                                                       UNITED STATES DISTRICT COURT
                                                      CENTRAL DISTRICT OF CALIFORNIA

          UNITED STATES OF AMERICA,                                              Case Number: 3:18-ti4.1-00257
                                                                 Plaintiff, ~
                                         vs.
                                                                          ~       NOTICE DIRECTING DEFENDANT TO APPEAR FOR
          Steuhen \\'il]i~nu Beal                                         ~       PRELIMINARY HEARING AND FOR ARRAIGNMENT
                                                               Defendant. ~              ON INDICTMENT/INFORMATION




                 YOU ARE HEREB~ NOTIFIED AND DIRECTED to appear before United States Magistrate Judge
                       s ~ 4°~ L'v                                       ,United States Courthouse located at:

               O Wetem Division                      ~,Soutliern Division                           7Eastern Division
                 255 E. Temple Street                   4ll W. Fourth Street                         3470 Twelfth Street
                Courtroom 341, 3rd Floor                Courtroom                         Floor      Courtroom                        Floor
                 Los Angeles, CA 90012                  Santa Ana, CA 92701                          Riverside, CA 92501

                 at r~e C~             ❑ AM / CYPM on                ~ /✓ 1 9 J                 ,for your Preliminary Heating. You aze
                 hereby directed to appeaz on this date unless you are informed that an indichnent or information is filed against you in
                 the U.S. District Court prior to the date set forth herein.

                If an indichnent or information has been filed, YOU ARE NOTIFIED AND DIRECTED to appear without further
                notice before United Siates Magistrate Judge                                               ,United States
                Courthouse located at:

                 Western Division                    CI Soutliem Division                           ❑Eastern Division
                 255 E. Temple Street                   411 W. Fourth Street                          3470 i'welfth Street
                 Courtroom 341, 3rd Floor               Courtroom                         Floor       Courtroom                       Floor
                 Los Angeles, CA 90012                  Santa Ana, CA 92701                           Riverside, CA 92501

                at ~i° ~: ~,,
                           ~°'`     ~AM / l7 PM on            ~~, i~l~~    )                 , at wliicl~ time you shall be arraigned on
                the indicunent /information. Upon arraigunent, your case will be assigned to a Judge ofthis Court before wUom you
                must be prepared to appear on the same day and enter a plea.

                If you have retained your own attorney, he or sloe must be present with you on the date ordered above. If you do not
                have an attorney, an attorney will be appointed to represent you at the time, provided you are without sufficient funds ro
                retain a private attorney.

                IF YOU FAIL TO APPEAR AT THE DATE,TIME AND PLACE INDICATED, YOUR PRESENT BOND
                WILL BE FORFEITED AND THE COURT WILL ISSUE A WARRANT FOR YOUR ARREST.

                NOTE: Your case may be assigned for further proceedings in a division dit'ferent from the one indicated above. If so,
                a notice will be mailed to you and your attorney; tUerefore, keep in close contact with your attorney so you will not
                waste time and eH'ort by going[o the wrong location.

                                                                                   Clerk, U.S. Dishict Court


                    Filed &Dated:    ~                                          sy:            G wry^ I ~6        V ~° G~ ULv
                                                                                   Magistrate Judge Courtroom Deputy Clerk




       M-60(OG/0~                     NOTICE DIRECTING DEFENDANT TO APPEAR FOR PRELIMINARY HEARING AND FOR                                   Page 1 of 1
                                                     ARRAIGNMENT ON INDICTMENT/INFORMATION
